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  4
  5   Attorneys for
      BANK OF AMERICA, N.A.
  6
  7
  8                        UNITED STATES BANKRUPTCY COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
 10                              LOS ANGELES DIVISION
 11   In Re:                            )        Bankruptcy No. 8:18-12471-TA
                                        )
 12                                     )        Chapter 13
      GURPREM KANG and SURINDER KANG, )
 13                                     )        OBJECTION TO CHAPTER 13 PLAN
                                        )
 14                                     )        Conf. Hrg.   Date: 9/26/18
                Debtors.                )        Time: 1:30   pm
 15                                     )        Court: 5B
                                        )        Place: 411   W Fourth St.,
 16                                     )        Santa Ana,   CA
      _________________________________ )
 17
 18        Secured Creditor BANK OF AMERICA, N.A.,(“BOA”), hereby files
 19   an objection to the Chapter 13 Plan of the above Debtor, as
 20   follows:
 21        BOA holds a note (#68249021985899)with a total credit limit
 22   of $120,000, executed by Debtors on 9/6/06, and secured by a
 23   junior (HELOC) deed of trust on the principal residence of the
 24
      Debtors located at 7011 E. Villanueva Drive, Orange, CA 92867.1
 25
           Debtors’ proposed Plan improperly classifies the BOA loan
 26
      under the “cramdown” provisions of Class 3B, notwithstanding the
 27
 28        1
            This loan is to be distinguished from the first loan held by Bank

      of America, as to which a separate objection to Plan has been filed.
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  1   fact that the loan was neither entered into for the purchase of a
  2   vehicle, nor within the year prior to filing of this Chapter 13
  3   case, but rather is a loan secured by Debtors’ principal
  4
      residence and therefore should be provided for in Class 2.
  5
           Debtors’ proposed Plan further purports to provide for
  6
      payment “in full” in month 10 of the Plan, however, it does not
  7
      acknowledge the prepetition arrearage, nor does it provide for
  8
      ongoing monthly interest payments. The current monthly payment is
  9
      $2,324.55. BOA’s claim, which it will file shortly, is expected
 10
 11   to total $265,109.20, including a prepetition arrearage of

 12   $33,643.71. As stated above, the proposed Plan appears to be an

 13   attempt to impermissibly modify a mortgage on Debtors’ principal

 14   residence.

 15        BOA submits the Plan as currently proposed is inadequate on
 16   its face and fails to comply with 11 U.S.C. §§1322 and 1325.
 17   Debtors schedules indicate their income is inadequate income and
 18
      they have proposed no other means of performing the Plan.
 19
           Therefore, confirmation of the Plan should be denied.
 20
      Dated: 8/15/18                            Respectfully submitted,
 21
 22                                             TFLG, A Law Corporation
 23
                                                   /s/ Laurie Howell
 24
                                                LAURIE HOWELL
 25                                             Attorney for Secured Creditor
                                                BANK OF AMERICA, N.A.
 26
 27
 28


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  1   NOTE: When using this form to indicate service of a proposed order, DO NOT list any person or entity in
      Category I. Proposed orders do not generate an NEF because only orders that have been entered are
  2   placed on a CM/ECF docket.

  3                             PROOF OF SERVICE OF DOCUMENT
  4
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  5   address is: 4110 Truxel Road, Suite 100, Sacramento, CA 95834

  6   A true and correct copy of the foregoing document described as OBJECTION TO PLAN to be served
      or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d), and (b) in
  7   the manner indicated below:

  8   I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) - Pursuant to
      controlling General Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing document will be served
      by the court via NEF and hyperlink to the document. On 8/15/18 I checked the CM/ECF docket for this
  9   bankruptcy case or adversary proceeding and determined that the following person(s) are on the
      Electronic Mail Notice List to receive NEF transmission at the email addressed indicated below:
 10
      Debtors’ Attorney: James D. Hornbuckle jdh@cornerstonelawcorp.com
 11   Chapter 13 Trustee: Amrane (SA) Cohen (TR) efile@ch13ac.com
      U.S. Trustee: United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
 12
 13   II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL (indicate method for each person or entity served):
      On 8/15/18 I served the following person(s) and/or entity(ies) at the last known address(es) in this
 14   bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
      in the United States Mail, first class, postage prepaid, and/or with an overnight mail service addressed as
 15   follow. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
      than 24 hours after the document is filed.
 16
      Gurprem Kang and Surinder Kang, Debtors, 7011 E. Villanueva Drive, Orange, CA 92867(US Mail)
 17   Hon. Theodor Albert, US Bankruptcy Court, 411 West Fourth Street, Suite 5085, Santa Ana, CA 92701-
      4593255 (US Mail)
 18
 19   III. SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL (indicate method for
      each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on______________ I
 20   served the following person(s) and/or entity(ies) by personal delivery, or (for those who consented in
      writing to such service method) by facsimile transmission and/or email as follows. Listing the judge here
 21   constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
      document is filed.
 22
 23
 24
 25   I declare under penalty of perjury under the laws of the United States of America that the foregoing is true
      and correct.
 26
 27   8/15/18                  Donna Hoagland                                 /s/ Donna Hoagland

 28


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